Case 1:20-cv-10701-DPW Document 61-3 Filed 04/28/20 Page 1of3

DECLARATION OF MICHAELA DUNNE

|, Michaela Dunne, depose and state based on my personal knowledge:

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| am presently the Deputy Commissioner of the Massachusetts Department of Criminal
Justice Information Services (“DCJIS”), a division of the Executive Office of Public Safety
and Security (“EOPSS”). | have held this position for 4 months.

| have also been Manager of the Law Enforcement Division at DCJIS, a position | held for
6 years. Before that, | was the Supervisor of the Firearms Records Bureau (“FRB”) at

DCIIS, a position | held for more than ten years.

DCJIS manages and administers the FRB. The FRB is the state agency charged with
keeping records of gun licensing and gun transaction information in Massachusetts. As
part of my duties as Deputy Commissioner of DCJIS, | supervise the work of the FRB.

Pursuant to G.L. c. 140, § 122A, DCIJIS also keeps records of gun dealers licensed by the
Commonwealth pursuant to G.L. c. 140, § 122. DCJIS also assists local licensing
authorities with their supervision of gun dealers in various ways, particularly with
respect to their compliance with state licensing requirements.

In my capacity as Deputy Commissioner and in light of the various jobs | held previously,
| am one of the state officials that is most familiar with the business practices of the
Commonwealth’s 350 licensed gun dealers.

Among other things, | have met or interacted with hundreds of licensees over more than
16 years, including during site visits | made for various purposes.

Over the years, | estimate that | have visited more than 25 gun dealerships in the
Commonwealth. During those visits | always entered the business premises the

dealership uses for retail sales.
Most Massachusetts gun dealerships are owner operated.
| have visited several Massachusetts gun dealers with very small retail spaces.

The gun stores | visited were often crowded retail spaces with counters for gun sales
and other purposes, and retail racks for gun supplies and gear. The stores also sold
other equipment and dry goods, including gun racks, gun locks, gun safes, hunting gear,
clothing, binoculars and the like. These items and the display racks that contain them
can make the retail space in even large gun stores very crowded.
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Case 1:20-cv-10701-DPW Document 61-3 Filed 04/28/20 Page 2 of 3

During my visits to gun stores, they were often quite crowded. | have frequently
observed customers in very close contact with sales staff and/or with other customers.
In many cases, close contact was unavoidable due to the size of the store.

Based on the registration requirements for gun sales managed by DCJIS, | am also aware
of typical sales volumes at gun stores. Even a small store can sometimes sell more than

10 guns in a single day.

My experience is that for every visit to a gun store that results in a sale, there are many
other customer visits including, for example, customers browsing, customers taking
preliminary steps to purchase the gun, customers seeking repairs, and customers
purchasing ammunition and gear.

Among other things, Massachusetts law (G.L. c. 140, § 123) requires gun purchasers to
physically present their gun licenses to the gun seller in person.

Under G.L. c. 140, § 123, gun stores must conduct all transactions at their permanent
place of business (or at a “regular meeting of an incorporated collectors club or at a gun
show open to the general public.”) This precludes completing transactional paperwork
or delivering guns at a customer’s residence or completing transactional work in the gun
store’s parking lot or on the sidewalk. It would also be illegal for a gun store to deliver
guns to customers in their cars.

There is some delay inherent in the process for any Massachusetts resident to obtain a
gun.

In order to purchase a gun, a Massachusetts resident must first obtain a firearms
license. This process can take at least 40 days, not including taking the required Basic
Firearms Safety Course. Therefore, for a new applicant, it may take up to 90 days to
acquire a firearm.

In addition, there is often a delay in scheduling an appointment with the relevant local
licensing authority to complete an application for a gun license. Issuance of a license
may take up to 60 days. See https://www.mass.gov/how-to/apply-for-a-firearms-
license

Even persons with valid gun licenses may not be able to acquire a gun on the day they
first select a weapon for purchase. This is because dealers must complete federal point
of purchase background checks that are not instantaneous. Such checks sometimes
take as long as three days. In many transactions, there is additional delay because gun
sellers must order the guns they contract to sell for delivery from a manufacturer or

distributor.
Case 1:20-cv-10701-DPW Document 61-3 Filed 04/28/20 Page 3 of 3

20. Nothing in the Governor's Covid-19 emergency orders prevents a person who wishes to
purchase a firearm from purchasing it in a legal private sale from another firearm
owner, provided the private seller complies with the laws governing private transfers,
including the registration requirement. DCJIS publishes information about private
transfers at:
https://mircs.chs.state.ma.us/fa10/action/home?app context=home&app action=pres
entHome.

21. It is further my understanding the Governor’s Covid19 emergency orders do not prevent
businesses that are permitted to remain open under the orders, such as, for example,
businesses that sell groceries, from also selling ammunition if they are licensed to do so
and if they have ammunition on hand. Walmart stores are an example of businesses
that are permitted to remain open and that are also licensed by the state to sell

ammunition.

Signed under the pains and penalties of perjury,

   

ichaela Dunne DATE

Deputy Commissioner
Department of Criminal Justice Information Services
Executive Office of Public Safety and Security
